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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,               CR NO. 17-00101 LEK

                   Plaintiff,

       vs.

 ANTHONY T. WILLIAMS,

                   Defendants.


      ORDER GRANTING THE GOVERNMENT’S MOTION TO QUASH SUBPOENAS

             Before the Court is Plaintiff the United States of

 America’s (“the Government”) Motion to Quash Subpoenas

 (“Motion”), filed on January 27, 2020.         [Dkt. no. 809.]     Pro se

 Defendant Anthony T. Williams (“Defendant”) did not file a

 response to the Motion.      The Court finds this matter suitable

 for disposition without a hearing pursuant to Rule LR7.1(c) of

 the Local Rules of Practice for the United States District Court

 for the District of Hawaii (“Local Rules”).          The Government’s

 Motion is hereby granted for the reasons set forth below.

                                 BACKGROUND

             Defendant has been charged with fifteen counts of wire

 fraud, in violation of 18 U.S.C. § 1343, and seventeen counts of

 mail fraud, in violation of 18 U.S.C. § 1341.          [Superseding

 Indictment, filed 3/28/18 (dkt. no. 154).]          The charges arise

 from an alleged scheme in which Defendant defrauded homeowners
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 in Hawai`i by offering mortgage reduction services, foreclosure

 assistance, and other related services through two entities,

 Mortgage Enterprise Investments (“MEI”) and The Common Law

 Office of America (“CLOA”).       [Id. at ¶¶ 1-21.]

             Trial in this matter began on February 3, 2020.

 Defendant maintains that he, MEI, and CLOA offered legitimate

 services to homeowners and they provided valuable assistance

 related to their clients’ mortgages, such as helping eligible

 clients avoid foreclosure.       According to Defendant, some of his

 former associates engaged in fraudulent activities and

 misrepresented a continuing affiliation with MEI and/or CLOA

 after they were no longer working with either Defendant, MEI, or

 CLOA.   It is Defendant’s position that the actions which form

 the basis of the charges in Superseding Indictment were either:

 1) legitimate activities; or 2) if any activities were

 fraudulent, they were committed by his former associates or

 others working with them.

             At issue in the instant Motion are seven subpoenas

 issued for the following prospective witnesses in the defense’s

 case:

 -former Assistant United States Attorney (“AUSA”) Ronald G.
      Johnson, who is now a judge in the State of Hawai`i First
      Circuit Court (“Judge Johnson”);

 -a special agent (“SA”) with the Federal Bureau of Investigation
      (“FBI”) in Tennessee who Defendant identifies as “Joe
      Craig”;

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 -William F. Sweeney, Jr., the Assistant Director in Charge of
      the FBI Field Office in New York (“ADC Sweeney”);

 -Paul Delacourt, the Assistant Director in Charge of the FBI
      Field Office in Los Angeles (“ADC Delacourt”);

 -J.C. “Chris” Hacker, the SA in Charge of the FBI Field Office
      in Atlanta (“SAC Hacker”);

 -SA Joseph Lavelle, who is with the FBI Field Office in Miami
      (“SA Lavelle”); and

 -SA Jamie Lynn Stranahan, who was formerly with the FBI Field
      Office in Miami, but who is now with the FBI Field Office
      in Washington D.C.

 [Motion, Decl. of Gregg Paris Yates in Supp. of Notice of

 Compliance with Order (“Yates Decl.”) at ¶¶ 2-3, 8-11, Exh. A

 (Subpoena to Testify at a Hearing or Trial in a Criminal Case,

 issued to Ronald G. Johnson (“Johnson Subpoena”)), Exh. B

 (letter dated 1/10/20 to Brian A. Benczkowski, Assistant

 Attorney General - Criminal Division, from Lars Robert Isaacson,

 Esq., Defendant’s stand-by counsel, with attachments).1]


       1Included within Exhibit B are: a declaration by
 Mr. Isaacson, dated January 10, 2020 (“Isaacson Declaration”);
 the Subpoena to Testify at a Hearing or Trial in a Criminal
 Case, issued to Joe Craig (“Craig Subpoena”); the Subpoena to
 Testify at a Hearing or Trial in a Criminal Case, issued to
 William F. Sweeney, Jr. (“Sweeney Subpoena”); the Subpoena to
 Testify at a Hearing or Trial in a Criminal Case, issued to
 Paul D. Delacourt (“Delacourt Subpoena”); the Subpoena to
 Testify at a Hearing or Trial in a Criminal Case, issued to
 J.C. “Chris” Hacker (“Hacker Subpoena”); the Subpoena to Testify
 at a Hearing or Trial in a Criminal Case, issued to FBI Agent
 Joseph Lavelle (“Lavelle Subpoena”); and the Subpoena to Testify
 at a Hearing or Trial in a Criminal Case, issued to FBI Agent
 Jamie Lynn Stranahan (“Stranahan Subpoena”). All citations to
                                              (. . . continued)
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             The Government argues all seven subpoenas should be

 quashed.    First, the Government contends the Johnson Subpoena

 should be quashed because Defendant did not comply with the

 applicable provisions of 28 C.F.R. § 16.21, et seq. (“Touhy

 regulations”).     Cf. Touhy v. Ragen, 340 U.S. 462 (1951).           The

 Government acknowledges that the letter to Assistant Attorney

 General Benczkowski was an attempt to comply with the Touhy

 regulations, but the Government argues the Isaacson Declaration

 fails to set forth a sufficient basis to warrant enforcement of

 the subpoenas described therein.          Finally, the Government argues

 compelling ADC Sweeney, ADC Delacourt, SAC Hacker, and

 SA Stranahan to testify at trial would be unduly burdensome.

                                 DISCUSSION

 I.    SA Joe Craig & SA Lavelle

             The Government states “‘Joe Craig’ does not appear to

 be an employee of the FBI.”       [Yates Decl. at ¶ 11.]         The Craig

 Subpoena was returned unexecuted because the United States

 Marshals Service was informed by the FBI Human Resources office

 that there were “no employees at Knoxville office by the name

 given on subpoena.”      [Proof of Service, filed 2/3/20 (dkt.

 no. 858), at 1.]     Defendant has not presented any evidence



 Exhibit B refer to the page numbers assigned to Exhibit B in the
 district court’s electronic case filing system.



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 contradicting these statements.        Based on the lack of service

 and the statements in the Yates Declaration and the return of

 service, the Government’s Motion is granted insofar as the Craig

 Subpoena is quashed.2

             The Government concedes that: SA Lavelle was the case

 agent in the FBI’s investigation into Defendant’s alleged

 criminal conduct Miami; and SA Lavelle has information relevant

 to the instant case.      [Motion at 14.]     The Government intends to

 call SA Lavelle to testify in its case-in-chief and does “not

 object to the defendant calling SA Lavelle in his own case for a

 relevant purpose.”     Id.; see also Government’s Witness List,

 filed 1/31/20 (dkt. no. 848), at 3.        Assuming that the

 Government does call SA Lavelle in its case-in-chief, Defendant

 will be permitted wider latitude to question him on cross-

 examination and will be allowed to ask questions on cross-

 examination that Defendant would have asked SA Lavelle on direct

 examination if he were called in the defense case.           Unless

 expressly ordered by this Court, SA Lavelle will not be required

 to appear on two separate occasions, i.e. once during the

 Government’s case-in-chief and again during the defense case.

 For those reasons, the Government’s Motion is granted insofar as

       2In light of this ruling, it is not necessary to address
 the issue of whether the Isaacson Declaration’s statements about
 SA Joe Craig satisfy the Touhy regulations.



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 the Lavelle Subpoena is quashed.          This ruling is without

 prejudice to the Court revisiting this issue if the Government

 elects not to call SA Lavelle during its case-in-chief.3

 II.   Judge Johnson

             AUSA Ronald Johnson was the lead prosecuting attorney

 in the instant case until he left the United States Attorney’s

 Office on or about March 15, 2019.         [Yates Decl. at ¶ 2.]      The

 Touhy regulations apply to former a former AUSA.           See, e.g.,

 Bloomgarden v. United States Dep’t of Justice, Civil Action

 No. 15-0298 (ESH), 2016 WL 845299, at *3 (D.D.C. Mar. 2, 2016)

 (reviewing the Department of Justice’s denial of a Touhy request

 regarding a former AUSA).       The Touhy regulations provide that:

                  (a) Every attorney in the Department of
             Justice in charge of any case or matter in which
             the United States is a party is authorized, after
             consultation with the “originating component” as
             defined in § 16.24(a) of this part, to reveal and
             furnish to any person, including an actual or
             prospective witness, a grand jury, counsel, or a
             court, either during or preparatory to a
             proceeding, such testimony, and relevant
             unclassified material, documents, or information
             secured by any attorney, or investigator of the
             Department of Justice, as such attorney shall

       3In light of these rulings, the Court declines to address
 the Government’s argument that the Isaacson Declaration’s
 statements about the Lavelle Subpoena do not satisfy the Touhy
 regulations. To the extent that the Government is concerned
 about Defendant’s intent to question SA Lavelle about matters
 which are irrelevant to the instant case, the Government must
 make its objections to specific questions during Defendant’s
 examination of SA Lavelle.



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             deem necessary or desirable to the discharge of
             the attorney’s official duties: Provided, Such an
             attorney shall consider, with respect to any
             disclosure, the factors set forth in § 16.26(a)
             of this part: And further provided, An attorney
             shall not reveal or furnish any material,
             documents, testimony or information when, in the
             attorney’s judgment, any of the factors specified
             in § 16.26(b) exists, without the express prior
             approval by the Assistant Attorney General in
             charge of the division responsible for the case
             or proceeding, the Director of the Executive
             Office for United States Trustees (hereinafter
             referred to as “the EOUST”), or such persons’
             designees.

                   . . . .

                  (c) If oral testimony is sought by a demand
             in a case or matter in which the United States is
             a party, an affidavit, or, if that is not
             feasible, a statement by the party seeking the
             testimony or by the party’s attorney setting
             forth a summary of the testimony sought must be
             furnished to the Department attorney handling the
             case or matter.

 28 C.F.R. § 16.23 (emphases in original).          Further, 28 C.F.R.

 § 16.26 states, in pertinent part:

             (a) In deciding whether to make disclosures
             pursuant to a demand, Department officials and
             attorneys should consider:

                   (1) Whether such disclosure is appropriate
                   under the rules of procedure governing the
                   case or matter in which the demand arose,
                   and

                   (2) Whether disclosure is appropriate under
                   the relevant substantive law concerning
                   privilege.

             (b) Among the demands in response to which
             disclosure will not be made by any Department


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             official are those demands with respect to which
             any of the following factors exist:

                   (1) Disclosure would violate a statute,
                   such as the income tax laws, 26 U.S.C. 6103
                   and 7213, or a rule of procedure, such as
                   the grand jury secrecy rule, F. R. Cr. P.,
                   Rule 6(e),

                   (2) Disclosure would violate a specific
                   regulation;

                   (3) Disclosure would reveal classified
                   information, unless appropriately
                   declassified by the originating agency,

                   (4) Disclosure would reveal a confidential
                   source or informant, unless the
                   investigative agency and the source or
                   informant have no objection,

                   (5) Disclosure would reveal investigatory
                   records compiled for law enforcement
                   purposes, and would interfere with
                   enforcement proceedings or disclose
                   investigative techniques and procedures the
                   effectiveness of which would thereby be
                   impaired,

                   (6) Disclosure would improperly reveal
                   trade secrets without the owner’s consent.

 Because Defendant did not provide the § 16.23(c) affidavit or

 statement summarizing the testimony he seeks from Judge Johnson,

 the Department of Justice could not conduct the review

 contemplated by the Touhy regulations.         The Johnson Subpoena

 must therefore be quashed.

             Further, to the extent that Defendant intended to

 elicit testimony from Judge Johnson in an attempt to show there

 were defects either in the initiation of the prosecution against

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 Defendant or the indictment, the time to raise such challenges

 was during pretrial motions, not during trial.          See Fed. R.

 Crim. P. 12(b)(3)(A), (B) (stating “[t]he following defenses,

 objections, and requests must be raised by pretrial motion if

 the basis for the motion is then reasonably available and the

 motion can be determined without a trial on the merits: (A) a

 defect in instituting the prosecution . . . [and] (B) a defect

 in the indictment or information”).        This Court has also ruled

 that testimony about alleged selective or vindictive

 prosecution, and other similar evidence, will not be permitted

 at trial.    [EO: Court Order Regarding Motions in Limine, filed

 1/30/20 (dkt .no. 841), at 6 (granting the Government’s motion

 in limine and ruling that Defendant is precluded from “rais[ing]

 arguments, attempt[ing] to question witnesses, and seek[ing] to

 enter evidence regarding alleged defects in search warrants,

 alleged discovery abuse, alleged selective or vindictive

 prosecution, nor alleged prosecutorial misconduct before the

 jury”).]

             Based on the record before it, the Court concludes

 that the Johnson Subpoena must be quashed because it does not

 seek testimony that can be presented at the trial in this case.

 III. ADC Sweeny, ADC Delacourt, and SAC Hacker

             Defendant seeks ADC Sweeny’s testimony “‘that

 [Defendant] had no complaints from clients in New York and that

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 there was no evidence that [Defendant], MEI or CLOA had

 committed any crime’” in New York.         [Yates Decl., Exh. B at

 pg. 4, ¶ 3.a.]     Defendant seeks similar testimony from

 ADC Delacourt regarding California and from SAC Hacker regarding

 Georgia.    [Id. at pg. 4, ¶¶ 4.a, 5.a.]       Even assuming that

 ADC Sweeny, ADC Delacourt, and SAC Hacker would give such

 testimony if called, the testimony would not prove that there

 were no complaints about Defendant, MEI, or CLOA in Hawai`i, nor

 would it prove that Defendant committed no crime in Hawai`i.

              “Evidence is relevant if: (a) it has any tendency to

 make a fact more or less probable than it would be without the

 evidence; and (b) the fact is of consequence in determining the

 action.”    Fed. R. Evid. 401.      Insofar as the Government has

 argued Defendant’s actions in Hawai`i which form the basis of

 the charges in this case were consistent with his actions in

 other parts of the country, the proposed testimony arguably

 makes it more probable that Defendant’s actions in Hawai`i did

 not constitute a crime.       However, “[t]he court may exclude

 relevant evidence if its probative value is substantially

 outweighed by a danger of one or more of the following: unfair

 prejudice, confusing the issues, misleading the jury, undue

 delay, wasting time, or needlessly presenting cumulative

 evidence.”     Fed. R. Evid. 403.     The arguable relevance of the

 proposed testimony from ADC Sweeny, ADC Delacourt, and

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 SAC Hacker is slight and would be “substantially outweighed by”

 the danger of “confusing the issues, misleading the jury, [and]

 wasting time” because permitting such testimony would result in

 mini-trials examining Defendant’s actions in New York,

 California, and Georgia.       See id.    Thus, the proposed testimony

 by ADC Sweeney, ADC Delacourt, and SAC Hacker would be excluded

 pursuant to Rule 403.

             Based on the record before it, the Court concludes

 that the Sweeney Subpoena, the Delacourt Subpoena, and the

 Hacker Subpoena must be quashed because they do not seek

 testimony that would be admissible in CR 17-101.

 IV.   SA Stranahan

             According to the Government, when SA Stranahan was

 based in the FBI’s Miami Field Office, she “encountered the

 defendant Anthony Williams when he filed a walk-in complaint

 with another individual named Donna Hickenbottom.           Hickenbottom

 claimed that banks had foreclosed on 10 of her properties, and

 judges in various Florida counties were receiving kickbacks from

 banks associated with foreclosure proceedings.”           [Yates Decl. at

 ¶ 4.]    Defendant seeks SA Stranahan’s testimony because she “was

 contacted by clients of [his who reported] that fraud had been

 committed against them by other companies and that [Defendant]

 was the one assisting and helping them fight their foreclosure.”

 [Id., Exh. B at pg. 5 (Isaacson Declaration), ¶ 7.a.]             Even if

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 Defendant helped clients who had been the victims of mortgage

 fraud in Miami, that is not relevant to the issue of whether

 Defendant committed wire fraud and mail fraud in Hawai`i.

 Further, any minimal relevance of SA Stranahan’s testimony about

 the complaint made by Defendant and Ms. Hickenbottom would be

 “substantially outweighed by” the danger of “confusing the

 issues, misleading the jury, [and] wasting time.”           See Rule 403.

             In addition, the Government notes that SA Stranahan

 has been on maternity leave since December 2019.           [Yates Decl.

 at ¶ 4.]    Pursuant to Fed. R. Crim. P. 17(c)(2), a subpoena for

 documents and objects can be quashed or modified “if compliance

 would be unreasonable or oppressive.”         District courts within

 the Ninth Circuit also apply Rule 17(c)(2) to subpoenas for

 testimony at a hearing or trial.          See, e.g., United States v.

 Mixon, No. CR-14-00631-001-TUC-JGZ, 2015 WL 13848985, at *2 (D.

 Ariz. Dec. 4, 2015).      In light of the minimal relevance, if any,

 of SA Stranahan’s proposed testimony and the likelihood that it

 would be excluded under the Rule 403 analysis, compelling her to

 testify in this case during her maternity leave would be

 unreasonable and oppressive.        Therefore, the Stranahan Subpoena

 must be quashed pursuant to Rule 17(c)(2).

                                  CONCLUSION

             On the basis of the foregoing, the Government’s Motion

 to Quash Subpoenas, filed January 27, 2020, is HEREBY GRANTED.

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 The subpoenas issued for The Honorable Ronald G. Johnson; the

 SA identified as “Joe Craig”; ADC William F. Sweeney, Jr.;

 ADC Paul Delacourt; SAC J.C. “Chris” Hacker; SA Joseph Lavelle;

 and SA Jamie Lynn Stranahan are HEREBY QUASHED.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAI`I, February 5, 2020.




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